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7. IN CASE/MATTER OF (Casl- Namn) B. PAYMENT CATEGURY

 

 

9. TYPE PERS(}N RE|‘RESE,NTE[)

 

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MEMPHIS TN 38105

Telephone Numher:
i-’i. NAME AND MAIL[NC ADDRESS OF LAW FIRM (nnl_v provide per instructions)
STEPHEN R. LEFFLER LAW OFFICE
707 Adams Avenue
MEMPHIS TN 38105

 

 

Prior Attorney's Name:

 

Appoin¢ment Dnle:

m Because the above-named person represented hastestified under oath or has
otherwise satisfied this court that he or she (1]' is financially unable to employ counsel and

{2] does

 
  

R iyme

Date u Ord¢r
tim pointm¢nl.

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' sh to waive counsel and because the interests uf]ustlr.e so require the
- ll is appointed to represent this person in lhls case,

 

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l:l YES I:l NO

residing .ludicial Ot`licer or By Ofder oftlie Court

Nunc Pro Tunc Dlte

r partial repayment ordered from the person represented forthis service at

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

  

 

 

 

 

 

 

 

 

 

 

representation? m YES ij NO lt'yes,give details on additional sheets.
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CATEG()RIES (Attaeh itemization of services with dates) CE£IR,¥E'SD CAY£§B gaggng “Yh§§§l::l§;(rg{ AHEH%§WAL
15. a. Arraignmeot and/or Plea

b. Bail and Detention Hearings

c. Motion Hearings
,', d. Trial
C e. Sentencing Hearlngs
3 t'. Revocation Hearings
:' g. Appeals Court

h. Other (Specify on additional sheets)

(Rate per hour = $ ) TOTALS:
lo. a. lntcrviews and Conferences
trio b. Obtaining and reviewing records
n c. Legal research and brief writing
(f: d. Travel time
3 e. investigative and Other work (Sp¢cify nn additional sheers)
§ (Rate per hour =$ ) TOTALS:
17. Travel Expense§ (lodging. parking, meals, mileage, etc.)
18. Other Expenses (other than expert, transcripts, elc. }
moments woman AonYSTEo) _
]9. CERT[FICAT\UN OF ATTORNEY/PAYEE FOR THE PERI()D 0 F SERVICE ZU. APP\')lNTMENT TERMINAT!ON DATE 21. CASE DlSPO SiTlON
FROM T() lF DTliER THAN CASE COMFLET!ON
22. CL.AIM STATUS g Final Payment \:1 lmer'im Payment Numher m Suppleruen\al Paymem
Have you previously applied to the court I`rr compensation and/or remimbursement l'or this ease'.' [:l YES [|' yes‘ were you paid'.’ i:] YES :I NO

Dlh€‘l' thtl Tr°m the fnlll‘¢\ h’lW )‘DU‘ of 103/mir k"'“*|¢‘dg\’ hat anyone else, received payment {cnmpensation or anything or value} from any other source io connection with this

 

 

 

 

 

 

 

 

 

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28. SlCNATURE OF '[`HE, PRESIDING JUI)ICLAL OFFICER DATE Zlia. JUDGE l MAG. JUDGE CODE
29. IN COURT COMP. 30. Ol_.‘T OF COURT COMP. 3]. TRAVEL EXPENSES 32. OT}{ER F.XPENSES 33. TOTAL AMT. APPROVED

 

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U.S. v. Doty Felony Adult Deferidant Appeal of Otl$?ef Maf;egs_ v 4
]l. OF FENSE(S) CH ARGFD {C:ite U. S. Codt', Tstle & Section) ll'nlore than one oll'ense list (up to live] major ol'|`mses charged. according to severin of offense f!£/ . O/€;/r‘} , ` "?

l) 18 2252A. F -- Activities relatmg to material constituting or containin g child pornography ' /L":<\W/ iv2,’/

/;¢.' 010
,,D #',:

12. ATTORNFY' 5 NAME (First Name M.l. Last Name, including any sut'l°:x) 13. CO'URTORDER <9

AND MAILlNG ADDRESS m 0 AppointingCounsel l:] C Cn-Counsel

LEFF LER! STEPHEN R' \:l F Suhs For Fee\eral [}efcnder ij R Subs For Retained Atlorne_v

707 Adams Ave [:] P Subs Fnr Panel Attorney m Y Slandhy Counsel

 

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Honorable J. Breen
US DISTRICT COURT

